Case 1:21-cr-00198-TSC Document 65-1 Filed 11/19/21 Page 1 of 5
        Case 1:21-cr-00198-TSC Document 65-1 Filed 11/19/21 Page 2 of 5


                                  JOHN L. MACHADO
                                   Attorney at Law
                             503 D Street, N.W., Suite 310
                                Washington, DC 20001
                                   (703)989-0840
                              johnlmachado@gmail.com


SENT VIA E-MAIL

Aidee V. Gavito
United States Probation Officer
(202) 565-1351
Aidee_Gavito@dcp.uscourts.gov

       Re: PSR of Troy Anthony Smocks, Case No. 21-CR-00198 (TSC)

Dear Officer Gavito:

Attached please find the Receipt and Acknowledgement of the PSR, as well as the corrections
suggested by the defense. Thank you for your work on behalf of Mr. Smocks’ case.




                                              1
         Case 1:21-cr-00198-TSC Document 65-1 Filed 11/19/21 Page 3 of 5




Furthermore, it is the defense’s opinion that § 2A6.1(b)(6) should apply, as the offense “involved
a single instance evidencing little or no deliberation” and therefore the base level should decrease
4 levels. While the government may argue that the statement of facts include an additional
instance of a threat, it is the defense’s position that Mr. Smocks 1) was required to agree to the
statement of facts, including the facts alleged in Count 2, in order to enter into the plea, per
insistence of the government; and 2) those facts are not relevant to the facts that are necessary to
find the relevant conduct for a finding of guilt to Count 1. The government has agreed to dismiss
Count 2. As stated in United States v. Castro-Cervantes, 927 F.2d 1079 (9 th Cir. 1990), “A plea
bargain is governed by contract principles… Compliance with the terms is expected of both the
defendant and the government. . . But for the court to let the defendant plead to certain charges
and then penalize on charges that have, by agreement, been dismissed is not only unfair, it
violates the spirit if not the letter of the bargain.” Id. at 1082. See also United States v. Harris,
70 F.3d 1001 (8th Cir.1995); United States v. Ashburn, 20 F.3d 1336, 1346 (5 th Cir. 1994);
Kinder v. United States, 504 U.S. 946, 950 (1992).
Should the court accept this argument, then the Total Offense Level would be 6. Accordingly, his
sentencing range would be either a) 1-6 months, if Criminal History II; or b) 2-8 months, if
Criminal History III, both of which are in Zone B.




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Case 1:21-cr-00198-TSC Document 65-1 Filed 11/19/21 Page 4 of 5
        Case 1:21-cr-00198-TSC Document 65-1 Filed 11/19/21 Page 5 of 5


Thank you for your consideration of these matters. Please feel free to contact me ag (703)989-
0840.


                                            Respectfully,

                                            John L. Machado
                                            John L. Machado
                                            Attorney for Troy Smocks




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